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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Jonathan Ruvinov, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On November 26, 2024, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A

             Debtors’ Motion for Entry of an Order Authorizing the (I) Retention of AP Services,
              LLC, (II) Designation of David Orlofsky as Chief Restructuring Officer, Effective as of
              the Petition Date, and (III) Granting Related Relief [Docket No. 251]

             Debtors’ Application for an Order Authorizing the Retention and Employment of Petrillo
              Klein + Boxer LLP as Special Counsel to the Debtors and Debtors in Possession
              Effective as of the Petition Date [Docket No. 252]

1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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      Debtors’ Application for an Order Authorizing Employment and Retention of Kroll
       Restructuring Administration LLC as Administrative Advisor, Effective as of the Petition
       Date [Docket No. 253]

      Motion of Debtors for Entry of an Order Extending Time to File Schedules of Assets and
       Liabilities and Statements of Financial Affairs [Docket No. 254]

      Debtors’ Motion for Order (A) Establishing Bar Dates and Related Procedures for Filing
       Proofs of Claim (Including for Claims Arising Under Section 503(B)(9) of the
       Bankruptcy Code) and (B) Approving the Form and Manner of Notice Thereof
       [Docket No. 255]

      Debtors’ Motion for Entry of an Order Establishing Procedures for Interim Compensation
       and Reimbursement of Expenses of Estate Professionals [Docket No. 256]

      Debtors’ Motion for an Order Authorizing (A) the Debtors to Retain, Employ, and
       Compensate Certain Professionals Utilized by the Debtors in the Ordinary Course of
       Business Effective as of the Petition Date and (B) Waiving Certain Information
       Requirements of Local Rule 2016-2 [Docket No. 257]

      Debtors’ Application for Entry of an Order (I) Authorizing the Retention and
       Employment of Ducera Partners LLC as Investment Banker to the Debtors Effective as of
       the Petition Date, and (II) Granting Related Relief [Docket No. 258]

      Debtors’ Application for Entry of an Order (I) Authorizing the Retention and
       Employment of Hilco Real Estate, LLC as Real Estate Consultant and Advisor for the
       Debtors, Effective as of the Petition Date; (II) Waiving Certain Requirements Imposed by
       Local Rule 2016-2; and (III) Granting Related Relief [Docket No. 259]

Dated: December 4, 2024
                                                                   /s/ Jonathan Ruvinov
                                                                   Jonathan Ruvinov
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on December 4, 2024, by Jonathan Ruvinov, proved to
me on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                              2
                                                                                    SRF 84071
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                       Exhibit A
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                                                                                                                                 Exhibit A
                                                                                                                            Core/2002 Service List
                                                                                                                           Served as set forth below


                                     DESCRIPTION                                                   NAME                                              ADDRESS                                                   EMAIL     METHOD OF SERVICE
                                                                                                                          Attn: Bentley Jones, Chief Revenue Officer
                                                                                                                          1210 S Indiana Ave #5907
Top 50 Unsecured Creditor                                                      Albany Industries Inc                      Chicago IL 60605                                           bjones@albanyfurniture.com        First Class Mail and Email
                                                                                                                          Attn: Jeff Ulrich, Assistant Corporate Controller
                                                                                                                          322 Main St
Top 50 Unsecured Creditor                                                      Alphia Inc                                 Bern KS 66408                                              jeffu@alphia.com                  First Class Mail and Email
                                                                                                                          Attn: Joe Carras, Vice President of Sales
                                                                                                                          2403 E Interstate 30
Top 50 Unsecured Creditor                                                      Animal Supply CO Wholesome                 Grand Prairie TX 75050                                     joe.carras@animalsupply.com       First Class Mail and Email
                                                                                                                          Attn: Harrison Pappas, CEO
                                                                                                                          210 S.Beck Ave.
Top 50 Unsecured Creditor                                                      Arizona Nutritional Supplement             Chandler 85226                                             hpappas@aznutritional.com         First Class Mail and Email
                                                                                                                          Attn: Jennifer Clark, Vice President, Account Management -
                                                                                                                          Retail
                                                                                                                          260 Interstate N Circle SE
Top 50 Unsecured Creditor                                                      Assurant Inc.                              Atlanta GA 30339                                           Jennifer.Clark@assurant.com       First Class Mail and Email
                                                                                                                          Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A.
                                                                                                                          Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP,                                                   919 North Market Street                                    heilmanl@ballardspahr.com
Continental Realty Corporation, Federal Realty OP LP, FR Grossmont, LLC,                                                  11th Floor                                                 roglenl@ballardspahr.com
Prime/FRIT Mission Hills, LLC, and ShopOne Centers REIT, Inc.                  Ballard Spahr LLP                          Wilmington DE 19801                                        vesperm@ballardspahr.com          Email
                                                                                                                          Attn: Kevin G. Collins
                                                                                                                          222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                    Barnes & Thornburg LLP                     Wilmington DE 19801                                        kevin.collins@btlaw.com           Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates,
Pasan LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC,
Fundamentals Company, Kinpark Associates, Laurie Industries Inc., Alisan                                                  Attn: Ericka F. Johnson
Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                              600 N. Market Street, Suite 400
Roseff LLC                                                                     Bayard, P.A.                               Wilmington DE 19801                                      ejohnson@bayardlaw.com              Email
                                                                                                                          Attn: Heba Elayan, Real Estate Principal
                                                                                                                          Oak Street Real Estate Capital, LLC
                                                                                                                          30 North Lasalle Ste 4140
Top 50 Unsecured Creditor                                                      Bcdc Portfolio Owner LLC                   Chicago IL 60602                                         Heba.elayan@blueowl.com             First Class Mail and Email
                                                                                                                          Attn: Heba Elayan, Real Estate Principal
                                                                                                                          Oak Street Real Estate Capital, LLC
                                                                                                                          30 North Lasalle Ste 4140
Top 50 Unsecured Creditor                                                      BCHQ Owner LLC                             Chicago IL 60602                                         Heba.elayan@blueowl.com             First Class Mail and Email
                                                                                                                          Attn: Kevin M. Capuzzi, Juan E. Martinez
                                                                                                                          1313 North Market Street, Suite 1201                     kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC                                      Benesch Friedlander Coplan & Aronoff LLP   Wilmington DE 19801-6101                                 jmartinez@beneschlaw.com            Email
                                                                                                                          Attn: Scott Blakeley
                                                                                                                          530 Technology Drive
                                                                                                                          Suite 100
Cousnel to Doctor's Best Inc                                                   Blakeley LC                                Irvine CA 92618                                          SEB@BlakeleyLC.com                  Email
                                                                                                                          Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L.
                                                                                                                          Williams                                                 mike.schaedle@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien                                             1201 N. Market Street, Suite 800                         stanley.tarr@blankrome.com
Agent and DIP Agent                                                           Blank Rome LLP                              Wilmington DE 19801                                      jordan.williams@blankrome.com       Email
                                                                                                                          Attn: Kristen N. Pate
                                                                                                                          350 N. Orleans Street
                                                                                                                          Suite 300
Counsel to Brookfield Properties Retail Inc                                    Brookfield Properties Retail Inc           Chicago IL 60654-1607                                    bk@bpretail.com                     Email



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                                                                                                                               Exhibit A
                                                                                                                          Core/2002 Service List
                                                                                                                         Served as set forth below


                                     DESCRIPTION                                                 NAME                                          ADDRESS                                             EMAIL     METHOD OF SERVICE
                                                                                                                     Attn: Shawn M. Christianson
                                                                                                                     425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                               Buchalter, A Professional Corporation   San Francisco CA 94105-3493                        schristianson@buchalter.com        Email
                                                                                                                     Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in                                                222 Delaware Avenue, Suite 1030
interest to DDR Carolina Pavilion, LP, Sylvan Park Apartments, LLC           Burr & Forman LLP                       Wilmington DE 19801                                jfalgowski@burr.com                Email
                                                                                                                     Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina                                             50 North Laura Street, Suite 3000                  esummers@burr.com
Pavilion, LP, Sylvan Park Apartments, LLC                                    Burr & Forman LLP                       Jacksonville FL 32202                              drobbins@burr.com                  Email
                                                                                                                     Attn: James H. Haithcock, III
                                                                                                                     420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                             Burr & Forman LLP                       Birmingham AL 35203                                jhaithcock@burr.com                Email
                                                                                                                     Attn: Jenn Watt, Credit Associate
                                                                                                                     1103 - 95 St SW
                                                                                                                     Suite 301
Top 50 Unsecured Creditor                                                    Champion Petfoods USA                   Edmonton AB T6X 0P8 Canada                         jwatt@championpetfoods.com         First Class Mail and Email
                                                                                                                     Attn: Mark L. Desgrosseilliers
                                                                                                                     Hercules Plaza
                                                                                                                     1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                     Chipman Brown Cicero & Cole, LLP        Wilmington DE 19801                                desgross@chipmanbrown.com          Email
                                                                                                                     Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC,                                           901 Main Street, Suite 6000
and VS Tempe, LLC                                                            Clark Hill PLC                          Dallas TX 75202                                    ahornisher@clarkhill.com           Email
                                                                                                                     Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC,                                           824 N. Market Street, Suite 710
and VS Tempe, LLC                                                            Clark Hill PLC                          Wilmington DE 19801                                kgrivner@clarkhill.com             Email
                                                                                                                     Attn: Michael Dunne, Manager
                                                                                                                     1045 Lake Drive
Top 50 Unsecured Creditor                                                    Costco Innovel (Logistics)              Issaquah WA 98027                                  michaeldunne@costco.com            First Class Mail and Email
                                                                                                                     Attn: William L. Siegel
                                                                                                                     901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                       Cowles & Thompson, P.C.                 Dallas TX 75202                                    bsiegel@cowlesthompson.com         Email
                                                                                                                     Attn: John Morel, SVP of Sales
                                                                                                                     2545 West Diversey Ave
Top 50 Unsecured Creditor                                                    Coyote Logistics                        Chicago IL 60647                                   John.Morel@Coyote.com              First Class Mail and Email
                                                                                                                     Attn: Brian L. Shaw
                                                                                                                     123 North Wacker Drive
                                                                                                                     Suite 1800
Counsel to the Prophecy Settlement-related Liquidating Trust 2022-23         Cozen O'Connor                          Chicago IL 60606                                   bshaw@cozen.com                    Email
                                                                                                                     Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                     1201 N. Market Street
                                                                                                                     Suite 1001                                         mbenedek@cozen.com
Counsel to the Prophecy Settlement-related Liquidating Trust 2022-23         Cozen O'Connor                          Wilmington DE 19801                                kekiner@cozen.com                  Email
                                                                                                                     Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                          1105 North Market Street, Suite 901
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC          Cross & Simon, LLC                       Wilmington DE 19801                                csimon@crosslaw.com                Email
                                                                                                                     Attn: Chris Bray, VP Sales and Marketing
                                                                                                                     5650 Private Road 8072
Top 50 Unsecured Creditor                                                    Delta Furniture                         West Plains MO 65775                                                                  First Class Mail




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                                                                                                                                Exhibit A
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                                      DESCRIPTION                                                   NAME                                         ADDRESS                                                   EMAIL       METHOD OF SERVICE
                                                                                                                      Attn: Stephen B. Porterfield
                                                                                                                      2311 Highland Avenue South
                                                                                                                      P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                  Dentons Sirote PC                        Birmingham AL 35255-5727                                stephen.porterfield@dentons.com        Email
                                                                                                                      General Inquiries
                                                                                                                      Internal Revenue Service
Top 50 Unsecured Creditor                                                    Department Of The Treasury               Ogden UT 84201-0009                                                                            First Class Mail
                                                                                                                      Attn: Paul Comrie, CEO
                                                                                                                      2250 Skyline Drive
Top 50 Unsecured Creditor                                                    Elements International Group LLC         Mesquite TX 75149                                       pcomrie@elementsgrp.com                First Class Mail and Email
                                                                                                                      Attn: TJ Stoffer, Sr. VP Sales, North America
                                                                                                                      10200 David Taylor Drive
Top 50 Unsecured Creditor                                                    Ema Electrolux/Frigidaire                Charlotte NC 28262                                      t.j.stoffer@electrolux.com             First Class Mail and Email
                                                                                                                      Attn: Michael T. Gustafson
                                                                                                                      320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates   Faegre Drinker Biddle & Reath LLP        Chicago IL 60606                                        mike.gustafson@faegredrinker.com       Email
                                                                                                                      Attn: Patrick A. Jackson
                                                                                                                      222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates   Faegre Drinker Biddle & Reath LLP        Wilmington DE 19801                                     patrick.jackson@faegredrinker.com      Email
                                                                                                                      Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                      919 North Market Street
                                                                                                                      12th Floor                                              bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                   Farnan LLP                               Wilmington DE 19801                                     mfarnan@farnanlaw.com                  Email
                                                                                                                      Attn: Daniel Wallace, CEO & Co-Founder
                                                                                                                      24 School St.
                                                                                                                      4th Floor
Top 50 Unsecured Creditor                                                    Force Factor Brands LLC                  Boston MA 02108                                         daniel@forcefactor.com                 First Class Mail and Email
                                                                                                                      Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                      3300 Great American Tower
                                                                                                                      301 East Fourth Street                                  eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                  Frost Brown Todd LLP                     Cincinnati OH 45202                                     jkleisinger@fbtlaw.com                 Email
                                                                                                                      Attn: Sloane B. O’Donnell
                                                                                                                      Union Trust Building
                                                                                                                      501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                         Frost Brown Todd LLP                     Pittsburgh PA 15219                                     sodonnell@fbtlaw.com                   Email
                                                                                                                      Attn: Custodian of Records
                                                                                                                      1600 Amphitheatre Parkway
Top 50 Unsecured Creditor                                                    Google                                   Mountain View CA 94043                                  legal-notices@google.com               First Class Mail and Email
                                                                                                                      Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County                                         Attn: Property Tax Division
Port of Houston Authority, Harris County Hospital District, and Harris County                                         P.O. Box 2848
Department of Education (hereinafter “Harris County”)                         Harris County Attorney’s Office         Houston TX 77252                                        taxbankruptcy.cao@harriscountytx.gov   Email
                                                                                                                      Attn: Rosemary Disla, Credit and Collections Analyst
                                                                                                                      14971 Collection Center Drive
Top 50 Unsecured Creditor                                                    Hartz Mountain - Vmx                     Chicago IL 60693                                        rdisla@hartz.com                       First Class Mail and Email

                                                                                                                      Attn: Robert Abele, Sr Director - Pet Omni-Channel Leader
                                                                                                                      6180 Sprint Parkway
Top 50 Unsecured Creditor                                                    Hill's Pet Nutrition                     Overland Park KS 66211                                    Robert_abele@colpal.com              First Class Mail and Email
                                                                                                                      Attn: Phillip W. Nelson
                                                                                                                      150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                              Holland & Knight LLP                     Chicago IL 60606                                          phillip.nelson@hklaw.com             Email



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                                                                                                                                Exhibit A
                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below


                                     DESCRIPTION                                                NAME                                          ADDRESS                                                        EMAIL             METHOD OF SERVICE
                                                                                                                      Centralized Insolvency Operation
                                                                                                                      P.O. Box 7346
IRS Insolvency Section                                                       Internal Revenue Service                 Philadelphia PA 19101-7346                                                                             First Class Mail
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield
Properties Retail, Inc., Curbline Properties Corp., First Washington Realty,                                          Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick   KDWBankruptcyDepartment@kelleydrye.com
GCP Boom LLC, JLL Property Management (Franklin Mall), Kite Realty Group,                                             3 World Trade Center                                          rlehane@kelleydrye.com
L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                          175 Greenwich Street                                          jraviele@kelleydrye.com
Centers Corp.                                                                Kelley Drye & Warren LLP                 New York NY 10007                                             aselick@kelleydrye.com                   Email
                                                                                                                      Attn: Michelle Leeson, Paralegal, Collections Specialist,
                                                                                                                      CFCA
                                                                             Ken Burton, Jr., Manatee County Tax      1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                     Collector                                Brandenton FL 34205-7863                                      legal@taxcollector.com                   Email
                                                                                                                      Attn: Connor K. Casas
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and Kirkland & Ellis LLP Kirkland & Ellis      333 West Wolf Point Plaza
BCHQ Owner LLC                                                             International LLP                          Chicago IL 60654                                              connor.casas@kirkland.com                Email
                                                                                                                      Attn: Steven N. Serajeddini P.C.
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and Kirkland & Ellis LLP Kirkland & Ellis      601 Lexington Avenue
BCHQ Owner LLC                                                             International LLP                          New York NY 10022                                             steven.serajeddini@kirkland.com          Email
                                                                                                                      Attn: Darin Wright, CFO
                                                                                                                      7155 State Highway 13
Top 50 Unsecured Creditor                                                    Kith Furniture                           Haleyville AL 35565                                           dwright@kithfurniture.com                First Class Mail and Email
                                                                                                                      Attn: Domenic E. Pacitti
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and                                            919 N. Market Street, Suite 1000
BCHQ Owner LLC                                                             Klehr Harrison Harvey Branzburg LLP        Wilmington DE 19801-3062                                      dpacitti@klehr.com                       Email
                                                                                                                      Attn: Morton R. Branzburg
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and                                            1835 Market Street, Suite 1400
BCHQ Owner LLC                                                             Klehr Harrison Harvey Branzburg LLP        Philadelphia PA 19103                                         mbranzburg@klehr.com                     Email
                                                                                                                      Attn: Ellen Craig, Sales Director
                                                                                                                      16191 Table Mountain Parkway
Top 50 Unsecured Creditor                                                    Kong Company                             Golden CO 80403                                               ellen.craig@kongcompany.com              First Class Mail and Email
                                                                                                                      Attn: Jeffrey Kurtzman
                                                                                                                      101 N. Washington Avenue
                                                                                                                      Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                               Kurtzman Steady LLC                      Margate NJ 08402                                              kurtzman@kurtzmansteady.com              Email
                                                                                                                      Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                      919 Market Street Suite 1800                                  landis@lrclaw.com
                                                                                                                      P.O. Box 2087                                                 mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders            Landis Rath & Cobb LLP                   Wilmington DE 19801                                           erogers@lrclaw.com                       First Class Mail and Email
                                                                                                                      Attn: Andrew Sorkin
                                                                                                                      555 Eleventh Street NW
                                                                                                                      Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent               Latham & Watkins LLP                     Washington DC 20004                                           andrew.sorkin@lw.com                     Email
                                                                                                                      Attn: James Kstanes, Timothy Beau Parker
                                                                                                                      330 N Wabash Avenue
                                                                                                                      Suite 2800                                                    james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent               Latham & Watkins LLP                     Chicago IL 60611 Canada                                       beau.parker@lw.com                       Email
                                                                                                                      Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin           Jennifer.Ezring@lw.com
                                                                                                                      1271 Avenue of the Americas                                   James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                           Latham & Watkins LLP                     New York NY 10020                                             andrew.sorkin@lw.com                     First Class Mail and Email




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                                                                                                                                 Exhibit A
                                                                                                                            Core/2002 Service List
                                                                                                                           Served as set forth below


                                  DESCRIPTION                                                   NAME                                                   ADDRESS                                          EMAIL     METHOD OF SERVICE
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield
Properties Retail, Inc., Curbline Properties Corp., First Washington Realty,
GCP Boom LLC, JLL Property Management (Franklin Mall), Kite Realty Group,                                                Attn: Susan E. Kaufan
L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                             919 N. Market Street, Suite 460
Centers Corp.                                                                Law Office of Susan E. Kaufman              Wilmington DE 19801                                   skaufman@skaufmanlaw.com         Email
                                                                                                                         Attn: Diane W. Sanders
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County,                                                  PO Box 17428
City of McAllen                                                         Linebarger Goggan Blair & Sampson, LLP           Austin TX 78760-7428                                  austin.bankruptcy@lgbs.com       Email
                                                                                                                         Attn: Don Stecker
                                                                                                                         112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                       Linebarger Goggan Blair & Sampson, LLP    San Antonio TX 78205                                  sanantonio.bankruptcy@lgbs.com   Email
                                                                                                                         Attn: John K. Turner
                                                                                                                         2777 N. Stemmons Freeway
                                                                                                                         Suite 1000
Counsel to Dallas County                                                        Linebarger Goggan Blair & Sampson, LLP   Dallas TX 75207                                       dallas.bankruptcy@lgbs.com       Email
Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall
CAD, Tarrant County, Navarro County, Smith County, Ellis County, City of
Sulphur Springs, Wise County, Tom Green CAD, Grayson County, Gregg                                                       Attn: John Kendrick Turner
County, Prosper ISD, Town of Prosper, City of Carrollton, Northwest ISD, City                                            3500 Maple Avenue
of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD,                                          Suite 800
Parker CAD                                                                      Linebarger Goggan Blair & Sampson, LLP   Dallas TX 75219                                       dallas.bankruptcy@lgbs.com       Email
Counsel to Cypress-Fairbanks ISD, Harris County, Galveston County,
Montgomery County, Ford Bend County, Katy ISD, Harris CO ESD # 08, City
of Houston, Montgomery County, Harris CO ESD # 48, Lone Star College
System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston                                                   Attn: Tara L. Grundemeier
County, Harris CO ESD # 09, Cypress-Fairbanks ISD, Deer Park ISD, Fort Bend                                              PO Box 3064
County, Houston Comm Coll System, City of Pasadena                              Linebarger Goggan Blair & Sampson, LLP   Houston TX 77253-3064                                 houston_bankruptcy@lgbs.com      Email
                                                                                                                         Attn: Henry Chan, CEO
                                                                                                                         3 Kallang Junction #05-02
Top 50 Unsecured Creditor                                                      Living Style (Singapore) Pte. Limited     Singapore 339265 Singapore                            henrychan@livingstyle.com        First Class Mail and Email
                                                                                                                         Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc.,                                              One Lowenstein Drive                                  metkin@lowenstein.com
Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC          Lowenstein Sandler LLP                       Roseland NJ 07068                                     mpapandrea@lowenstein.com        Email
                                                                                                                         Attn: Brie Lieto, Director, Supply Chain
                                                                                                                         1000 Lowe's Blvd
Top 50 Unsecured Creditor                                                      Lowes Companies Inc                       Mooresville NC 28117                                  brie.lieto@lowes.com             First Class Mail and Email

                                                                                                                         Attn: Cullen Mahan , Customer Development Team Lead
                                                                                                                         2013 Ovation Parkway
Top 50 Unsecured Creditor                                                      Mars Petcare                              Franklin TN 37067                                     cullen.mahan@effem.com           First Class Mail and Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet
Central Appraisal District, Bowie Central Appraisal District, Denton County,
Guadalupe County, Hays County, Midland Central Appraisal District, City of                                               Attn: Julie Anne Parsons
Waco/Waco Independent School District/La Vega Independent School                                                         700 Jeffrey Way, Suite 100
District, and Williamson County                                                McCreary, Veselka, Bragg, & Allen, P.C.   Round Rock TX 78665                                   jparsons@mvbalaw.com             Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet
Central Appraisal District, Bowie Central Appraisal District, Denton County,
Guadalupe County, Hays County, Midland Central Appraisal District, City of                                               Attn: Julie Anne Parsons
Waco/Waco Independent School District/La Vega Independent School                                                         P.O. Box 1269
District, and Williamson County                                                McCreary, Veselka, Bragg, & Allen, P.C.   Round Rock TX 78680-1269                              jparsons@mvbalaw.com             Email




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                                                                                                                    Core/2002 Service List
                                                                                                                   Served as set forth below


                                     DESCRIPTION                                        NAME                                                ADDRESS                                                     EMAIL     METHOD OF SERVICE
                                                                                                                  Attn: Nicole C. Kenworthy
                                                                                                                  6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                         Meyers, Rodbell & Rosenbaum, P.A.             Riverdale MD 20737-1385                                     bdept@mrrlaw.net                  Email
                                                                                                                  Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                  1800 West Park Dr., Suite 400                               jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                    Mirick, O’Connell, DeMallie & Lougee, LLP     Westborough MA 01581                                        scolbert@mirickoconnell.com       Email
                                                                                                                  Attn: Rachel B. Mersky
                                                                                                                  1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC    Monzack Mersky and Browder, P.A.              Wilmington DE 19801                                         rmersky@monlaw.com                Email
                                                                                                                  Attn: Luis Sanchez, General Manager
                                                                                                                  Cam. Santa ana tepetitlan 1112, col paseos del briseño
                                                                                                                  zapopan Jalisco, Mexico
Top 50 Unsecured Creditor                                           Muebles Briss S.A. De C.V.(Marby)             Zapopan JAL 45236 Mexico                                    luis@southsourcing.com.mx         First Class Mail and Email
                                                                                                                  Attn: David G. Byrnes, Jr., Assistant General Counsel
                                                                                                                  450 S Orange Avenue, Suite 900
Top 50 Unsecured Creditor                                           National Retail Properties, LP                Orlando FL 32801                                            david.byrnes@nnnreit.com          First Class Mail and Email
                                                                                                                  Attn: Darcy Hagan
                                                                                                                  3101 Stephen F Austin Dr
Top 50 Unsecured Creditor                                           Natural Balance Pet Foods Inc                 Brownwood TX 76801                                          darcy.hagan@ethospetbrands.com    First Class Mail and Email
                                                                                                                  Attn: Erin Bovard
                                                                                                                  825 Challenger Drive
Top 50 Unsecured Creditor                                           Nature's Way Brands, LLC                      Green Bay WI 54311                                          erin.bovard@naturesway.com        First Class Mail and Email
                                                                                                                  Attn: Grant Wabnitz, Director, Market Activation
                                                                                                                  1 Checkerboard Square
Top 50 Unsecured Creditor                                           Nestle Purina Petcare Company                 St. Louis MO 63164                                          grant.wabnitz@purina.nestle.com   First Class Mail and Email
                                                                                                                  Attn: Brian Casutto, Consultant
                                                                                                                  145 Aberdeen Ave, Unit 1
Top 50 Unsecured Creditor                                           Newfoundland And Labrador Inc                 St. John's NL A1A5N6 Canada                                 brian@nutraholdings.com           First Class Mail and Email
                                                                                                                  Attn: Brian Slobodow, CEO
                                                                                                                  1400 Kearns Blvd
Top 50 Unsecured Creditor                                           Nutraceutical                                 Park City UT 84060                                          bslobodow@betterbeing.com         First Class Mail and Email
                                                                                                                  Attn: Timothy J. Fox, Esq
                                                                                                                  844 King Street, Suite 2207

                                                                    Office of the United States Trustee for the   Lockbox 35
United States Trustee for the District of Delaware                  District of Delaware                          Wilmington DE 19801                                         timothy.fox@usdoj.gov             First Class Mail and Email
                                                                                                                  Attn: Amy Horton, Chief Sales Officer
                                                                                                                  559 College St, Suite 400
Top 50 Unsecured Creditor                                           Open Farm Inc                                 Toronto ON M6G 1A9 Canada                                   amy@openfarmpet.com               First Class Mail and Email
                                                                                                                  Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                  919 North Market Street, 17th Floor
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Proposed Counsel to the Official Committee of Unsecured Creditors   Pachulski Stang Ziehl & Jones LLP             Wilmington DE 19899-8705                                    crobinson@pszjlaw.com             Email
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                                                                                                                  Heckel                                                      rfeinstein@pszjlaw.com
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                                                                                                                       Core/2002 Service List
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                                     DESCRIPTION                                           NAME                                                   ADDRESS                                                  EMAIL     METHOD OF SERVICE
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Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders        Paul Hastings LLP                           Washington DC 20036                                        nicholasbassett@paulhastings.com   Email
                                                                                                                     Attn: Chad Cunningham , CEO Owner
                                                                                                                     604 Pontotoc Co Ind Park Road
Top 50 Unsecured Creditor                                                Peak Living, Inc.                           Ecru MS 38841                                              chadcunningham03@gmail.com         First Class Mail and Email
                                                                                                                     Attn: Hiram Gutierrez
                                                                         Perdue, Brandon, Fielder, Collins & Mott,   P.O. Box 2916
Cousnel to Brownsville Independent School District                       L.L.P                                       McAllen TX 78502                                           edinburgbankruptcy@pbfcm.com       Email
                                                                                                                     Attn: Laura J. Monroe
                                                                         Perdue, Brandon, Fielder, Collins & Mott,   PO Box 817
Cousel to Lubbock Central Appraisal District Midland County              L.L.P                                       Lubbock TX 79408                                           lmbkr@pbfcm.com                    Email
                                                                                                                     Attn: Sergio E. Garcia
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Independent School District                                              L.L.P                                       Austin TX 78731                                            sgarcia@pbfcm.com                  Email
                                                                                                                     Attn: Alysia Córdova
                                                                         Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                              acordova@pbfcm.com
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                                                                                                                     Attn: Mark Patterson, Vice President Area Sales, Central
                                                                                                                     3747 Hecktown Road
Top 50 Unsecured Creditor                                                Phillips Feed And Pet Supply                Easton PA 18045                                            mark.patterson@phillipspet.com     First Class Mail and Email
                                                                                                                     Attn: Matthew Spahn, Founder & CEO
                                                                                                                     35 Holcomb Hill Road
Top 50 Unsecured Creditor                                                Planitretail LLC                            West Granby CT 3003599                                     matt.spahn@planitretail.net        First Class Mail and Email
                                                                                                                     Attn: Elisa Hyder
                                                                                                                     Three Logan Square
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Fishcare North America, Inc.                                             Polsinelli PC                               Philadelphia PA 19103                                      ehyder@polsinelli.com              Email
                                                                                                                     Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc. and Mars                                               222 Delaware Avenue, Suite 1101                            skatona@polsinelli.com
Fishcare North America, Inc.                                             Polsinelli PC                               Wilmington DE 19801                                        kdevanney@polsinelli.com           Email
                                                                                                                     Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                     1313 N. Market Street                                      jryan@potteranderson.com
                                                                                                                     6th Floor                                                  bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent           Potter Anderson & Corroon LLP               Wilmington DE 19801                                        esulik@potteranderson.com          Email
                                                                                                                     Attn: Karren Job, SVP
                                                                                                                     1222 67th Street 210
Top 50 Unsecured Creditor                                                Premier Nutrition Company, LLC              Emeryville CA 94608                                                                           First Class Mail
                                                                                                                     Attn: Kevin Naughton, President
                                                                                                                     3040 S Dye Rd
Top 50 Unsecured Creditor                                                Print Comm                                  Flint MI 48473                                             knaughton@printcomm.com            First Class Mail and Email
                                                                                                                     Attn: L. Kate Mason
                                                                                                                     411 E. Wisconsin Avenue
                                                                                                                     Suite 2400
Counsel to Whirlpool Corporation                                         Quarles & Brady LLP                         Milwaukee WI 53202                                         Katie.Mason@quarles.com            Email
                                                                                                                     Attn: Rhonda Witt
                                                                                                                     10427 Petsafe Way
Top 50 Unsecured Creditor                                                Radio Systems Corporation                   Knoxville TN 37932                                         rwitt@petsafe.net                  First Class Mail and Email




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                                      DESCRIPTION                                             NAME                                            ADDRESS                                                EMAIL       METHOD OF SERVICE
                                                                                                                      Attn: Aaron Singerman, CEO
                                                                                                                      701 Park of Commerce
                                                                                                                      100
Top 50 Unsecured Creditor                                                  Redcon 1                                   Boca Raton FL 33487                                    aaron@redcon1.com                 First Class Mail and Email
                                                                                                                      Attn: John H. Knight, Amanda R. Steele, Alexander R.
                                                                                                                      Steiger
                                                                                                                      One Rodney Square                                      knight@rlf.com
                                                                                                                      920 North King Street                                  steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates          Richards Layton & Finger PA                Wilmington DE 19801                                    steiger@rlf.com                   Email
                                                                                                                      Attn: Steven Fox
                                                                                                                      Times Square Tower Suite 2506
                                                                                                                      Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                     Riemer & Braunstein LLP                  New York NY 10036                                                                        First Class Mail
Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn
Station LLC, Harvest Station LLC, Village Mooresville Station LLC, Fairfield
Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station LLC, Hartville
Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five
Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton
Village Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station                                            Attn: Monique B. DiSabatino
LLC, Rainbow Station North LLC, Southfield Station LLC, Stone Gate Station                                            1201 North Market Street, Suite 2300
LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC,                                           P.O. Box 1266
and Phillips Edison & Company                                                Saul Ewing LLP                           Wilmington DE 19899                                    monique.disabatino@saul.com       Email
Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn
Station LLC, Harvest Station LLC, Village Mooresville Station LLC, Fairfield
Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station LLC, Hartville
Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five
Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton
Village Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station                                            Attn: Turner N. Falk
LLC, Rainbow Station North LLC, Southfield Station LLC, Stone Gate Station                                            Centre Square West
LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC,                                           1500 Market Street, 38th Floor
and Phillips Edison & Company                                                Saul Ewing LLP                           Philadelphia PA 19102                                  turner.falk@saul.com              Email
                                                                                                                      Attn: Bankruptcy Department
                                                                                                                      Brookfield Place
                                                                           Securities & Exchange Commission - NY      200 Vesey Street, Suite 400                            bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                         Office                                     New York NY 10281-1022                                 nyrobankruptcy@sec.gov            First Class Mail and Email
                                                                                                                      Attn: Bankruptcy Department
                                                                                                                      One Penn Center
                                                                           Securities & Exchange Commission -         1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                         Philadelphia Office                        Philadelphia PA 19103                                  secbankruptcy@sec.gov             First Class Mail and Email
                                                                                                                                                                             bateman@sewkis.com
                                                                                                                                                                             patel@sewkis.com
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                                                                                                                      John R. Ashmead, Gregg S. Bateman, Andrew J. Matott    ashmead@sewkis.com
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Prepetition First Lien Agent and DIP Agent                                 Seward & Kissel LLP                        New York NY 10004                                      matott@sewkis.com                 First Class Mail and Email
                                                                                                                      Attn: Eric S. Goldstein                                egoldstein@goodwin.com
                                                                                                                      One Constitution Plaza                                 bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                 Shipman & Goodwin LLP                      Hartford CT 06103-1919                                 bankruptcyparalegal@goodwin.com   Email
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Counsel to ShopCore Properties and its related entities                    ShopCore Properties                        San Diego CA 92127                                     wmcdonald@shopcore.com            Email




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                                      DESCRIPTION                                                    NAME                                               ADDRESS                                                 EMAIL      METHOD OF SERVICE
                                                                                                                           Attn: Ronald M. Tucker
                                                                                                                           225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                 Simon Property Group, Inc.                  Indianapolis IN 46204                                      rtucker@simon.com                  Email
                                                                                                                           Attn: Dana S. Plon
                                                                                                                           123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                 Sirlin Lesser & Benson, P.C.                Philadelphia PA 19109                                      dplon@sirlinlaw.com                Email
                                                                                                                           Attn: Dennis Straily, President/CEO
                                                                                                                           3720 West Broad St
Top 50 Unsecured Creditor                                                      Solstice Sleep Company                      Columbus OH 43228                                          dstraily@solsticesleep.com         First Class Mail and Email

                                                                                                                           Attn: Lucas Hall, EVP
                                                                                                                           PO Box 933715
Top 50 Unsecured Creditor                                                      Standard Furniture Mfg Co Inc               Atlanta GA 31193-3715                                      lucas.hall@sfmco.com               First Class Mail and Email
                                                                                                                           Attn: Joseph H. Lemkin
                                                                                                                           PO Box 5315
Counsel to Peoria Rental Properties, LLC                                       Stark & Stark, P.C.                         Princeton NJ 08543                                         jlemkin@stark-stark.com            Email

                                                                                                                           Attn: Noelle Wolter, Director Of Accounting And Treasury
                                                                                                                           111 W. Oakley Parkway
Top 50 Unsecured Creditor                                                      Stella And Chewys LLC                       Oak Creek WI 53154                                         nwolter@stellaandchewys.com        First Class Mail and Email
                                                                                                                           Attn: Sabrina L. Streusand
                                                                                                                           1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                       Streusand, Landon Ozburn & Lemmon, LLP      Austin TX 78746                                            streusand@slollp.com               Email
                                                                                                                           Attn: William A. Hazeltine
                                                                                                                           919 N. Market Street
                                                                                                                           Suite 420
Counsel to Whirlpool Corporation                                               Sullivan Hazeltine Allinson LLC             Wilmington DE 19801                                        whazeltine@sha-llc.com             Email
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                                                                                                                           Suite 204
Counsel to Raymond Leasing Corporation                                         Swanson, Martin & Bell, LLP                 Lisle IL 60532                                             cstahl@smbtrials.com               Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates,
Pasan LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC,
Fundamentals Company, Kinpark Associates, Laurie Industries Inc., Alisan                                                   Attn: Jeffrey Rhodes
Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                               2001 L Street, NW, Suite 500
Roseff LLC                                                                     Tayman Lane Chaverri LLP                    Washington DC 20036                                        jrhodes@tlclawfirm.com             Email
                                                                                                                           Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                           Bankruptcy & Collections Division
                                                                                                                           P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                            Texas Attorney General's Office             Austin TX 78711-2548                                       christopher.murphy@oag.texas.gov   Email
                                                                                                                           Attn: Louis F Solimine
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                                                                                                                           Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                   Thompson Hine LLP                           Cincinnati OH 45202-4029                                   Louis.Solimine@ThompsonHine.com    Email
                                                                                                                           Attn: Michael B. Pugh
                                                                                                                           2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                      Thompson O'Brien Kappler & Nasuti PC        Peachtree Corners GA 30092                                 mpugh@tokn.com                     Email
                                                                                                                           Attn: Oday Abo, CEO
                                                                                                                           7400 S Loomis Blvd
Top 50 Unsecured Creditor                                                      Titanic Furniture                           Suwanee GA 30024                                           oday@titanicfurniture.com          First Class Mail and Email




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                                     DESCRIPTION                                            NAME                                                 ADDRESS                                            EMAIL       METHOD OF SERVICE
                                                                                                                    Attn: Norman Krause
                                                                                                                    3333 Beverly Road
                                                                                                                    Office: B5-178B
Top 50 Unsecured Creditor                                               Transform Holdco LLC (3Pl)                  Hoffman Estates IL 60179                                Norman.Krause@transformco.com     First Class Mail and Email
                                                                                                                    Attn: Stephen B. Gerald
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a                                                   200 Continental Drive, Suite 401
Amazing Herbs                                                           Tydings & Rosenberg LLP                     Newark DE 19713                                         sgerald@tydings.com               Email
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                                                                                                                    U.S. Attorney's Office
                                                                                                                    1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                              U.S. Attorney for Delaware                  Wilmington DE 19801                                                                       First Class Mail
                                                                                                                    Secretary of the Treasury
                                                                        U.S. Securities and Exchange Commission -   100 F. Street NE
Securities and Exchange Commission                                      Headquarters                                Washington DC 20549                                     secbankruptcy@sec.gov             First Class Mail and Email
                                                                                                                    Attn: Steve Moore, Head of TM Operations
                                                                                                                    433 W Van Buren St
Top 50 Unsecured Creditor                                               Uber Freight Us LLC                         Chicago 60607                                           steve.moore@uberfreight.com       First Class Mail and Email
                                                                                                                    Attn: Steve McMichael, VP, UPS Ocean
                                                                                                                    28013 Network Place
Top 50 Unsecured Creditor                                               UPS (Ocean Freight)                         Chicago IL 60673-1280                                   Ssmcmichael@ups.com               First Class Mail and Email
                                                                                                                    Attn: Brian Kuz, Chief Sales Officer
                                                                                                                    3865 Grand View Blvd
Top 50 Unsecured Creditor                                               Vitamin Well USA LLC                        Los Angeles CA 90066                                    brian.kuz@vitaminwell.com         First Class Mail and Email
                                                                                                                    Attn: Rebecca Dow, Corporate Controller
                                                                                                                    77 S Bedford St
Top 50 Unsecured Creditor                                               Wellness Pet LLC                            Burlington MA 01803                                     bdow@wellnesspet.com              First Class Mail and Email
                                                                                                                    Attn: Robert Holt, Director of Finance
                                                                                                                    17 Mercer Road
Top 50 Unsecured Creditor                                               Weruva International Inc                    Natick MA 01760                                         ar@Weruva.com                     First Class Mail and Email
                                                                                                                    Attn: Dave Whitehead, VP & GM National Account Sales
                                                                                                                    and Marketing
                                                                                                                    600 West Main Street
Top 50 Unsecured Creditor                                               Whirlpool                                   Benton Harbor MI 40922                                  david_m_whitehead@whirlpool.com   First Class Mail and Email
                                                                                                                    Attn: Bojan Guzina
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                                                                                                                    Attn: J. Christopher Shore, Samuel P. Hershey, Andrew   sam.hershey@whitecase.com
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of Freedom Lenders                                                       White & Case LLP                           Miami FL 33131                                          tlauria@whitecase.com             First Class Mail and Email
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                                                                                                                    Feldman, Joseph R. Brandt                               mfeldman@willkie.com
                                                                                                                    787 Seventh Avenue                                      bfeldman@willkie.com
Proposed Counsel to Debtors and Debtors In Possession                   Willkie Farr & Gallagher LLP                New York NY 10019                                       jbrandt@willkie.com               Email




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                                     DESCRIPTION                         NAME                                             ADDRESS                                              EMAIL     METHOD OF SERVICE
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                                                                                                 Mielke, Shella Borovinskaya                          emorton@ycst.com
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Proposed Counsel to Debtors and Debtors In Possession   Young Conaway Stargatt & Taylor, LLP     Wilmington DE 19801                                  sborovinskaya@ycst.com           Email
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                                                                                                 3650 Sacramento Drive
Top 50 Unsecured Creditor                               Zoo Med Laboratories Inc                 San Luis Obispo CA 93401                             david@zoomed.com                 First Class Mail and Email




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